         Case MDL No. 3083 Document 303 Filed 09/25/23 Page 1 of 62




            BEFORE THE UNITED STATES JUDICIAL PANEL
                 ON MULTIDISTRICT LITIGATION

IN RE MOVEIT CUSTOMER DATA                     MDL No. 3083
SECURITY BREACH LITIGATION
______________________________________________/

                       NOTICE OF RELATED ACTION

      PLEASE TAKE NOTICE, in accordance with Rule 6.2(d) of the Rules of

Procedure for the United States Judicial Panel on Multidistrict Litigation, that one

new case was filed which the undersigned submits relates to the actions subject to

the pending Motion to Transfer Actions in the above-captioned matter. This case is

McPherson v. Progress Software Corporation et al, Case No. 1:23-cv-1005, in the

Western District of Michigan. A schedule of the actions listing this new case is

attached, as well as copies of the current docket and Complaint.




                                             Respectfully submitted,


Date: September 25, 2023                     /s/Alyson Oliver
                                             Alyson Oliver
                                             OLIVER LAW GROUP PC
                                             50 W. Big Beaver Road Ste. 200
                                             Troy, MI 48084
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       Case MDL No. 3083 Document 303 Filed 09/25/23 Page 2 of 62




        BEFORE THE UNITED STATES JUDICIAL PANEL ON
                MULTIDISTRICT LITIGATION



IN RE MOVEIT CUSTOMER DATA                     MDL No. 3083
SECURITY BREACH LITIGATION
______________________________________________/

                          SCHEDULE OF ACTIONS
     Plaintiffs    Defendants     District      Civil Action     Judge
                                                No.

     Francis       UNUM          Western        1:23-cv-         Paul L.
     McPherson     Group and     District of    01005            Maloney
                   Progress      Michigan
                   Software
                   Corporation


                                       Respectfully Submitted,


     September 25, 2023                /s/Alyson Oliver
                                       OLIVER LAW GROUP PC
                                       Attorneys for Plaintiff
                                       50 W. Big Beaver Road
                                       Ste. 200
                                       Troy, MI 48084
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                   Case MDL No. 3083 Document 303 Filed 09/25/23 Page 3 of 62
                                  United States District Court
                       Western District of Michigan (Southern Division (1))
                     CIVIL DOCKET FOR CASE #: 1:23-cv-01005-PLM-SJB


McPherson v. UNUM Group et al                                        Date Filed: 09/21/2023
Assigned to: District Judge Paul L. Maloney                          Jury Demand: Plaintiff
Referred to: Magistrate Judge Sally J. Berens (events as ordered)    Nature of Suit: 360 P.I.: Other
Cause: 28:1332 Diversity-Breach of Contract                          Jurisdiction: Diversity
plaintiff
Francis W. McPherson                                represented by Alyson L. Oliver
invidually and on behalf of all others                             Oliver Law Group PC (Troy)
similarly situated,                                                50 W Big Beaver Rd., Ste. 200
                                                                   Troy, MI 48084
                                                                   (248) 327-6556
                                                                   Fax: 248-436-3385
                                                                   Email: notifications@oliverlawgroup.com
                                                                   ATTORNEY TO BE NOTICED


V.
defendant
UNUM Group

defendant
Progress Software Corporation


Date Filed       # Docket Text
09/21/2023       1 COMPLAINT with jury demand against Progress Software Corporation, UNUM Group
                   filed by Francis McPherson (Attachments: # 1 Civil Cover Sheet) (Oliver, Alyson) (Entered:
                   09/21/2023)
09/21/2023       2 PROPOSED SUMMONS to be issued re 1 (Oliver, Alyson) (Entered: 09/21/2023)
09/22/2023       3 NOTICE that this case has been assigned to Paul L. Maloney ; with NOTICE OF
                   DEFICIENCY re filing fee (mg) (Entered: 09/22/2023)
09/22/2023           SUMMONS NOT ISSUED as to defendants Progress Software Corporation, UNUM Group
                     (filing fee not paid) (mg) (Entered: 09/22/2023)
09/22/2023           FILING FEE PAID re 1 by plaintiff Francis W. McPherson in the amount of $402, receipt
                     number AMIWDC-7170385 (Oliver, Alyson) (Entered: 09/22/2023)
09/25/2023       4 SUMMONS ISSUED as to defendants Progress Software Corporation, UNUM Group (ns)
                   (Entered: 09/25/2023)



                                          PACER Service Center
                                             Transaction Receipt
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Case MDL No. 3083 Document 303 Filed 09/25/23 Page 4 of 62
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                    Oliver8855   Client Code:   Moveit Class Action
     Login:
                    Docket       Search         1:23-cv-01005-PLM-
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                    Report       Criteria:      SJB
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           MDL No. 3083
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                                                 09/21/23
                                                        Page
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                                                             5 of162
                                                                   of 58




                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN


  FRANCIS W. MCPHERSON, individually and
  on behalf of all others similarly situated,
                                                              Hon.
           Plaintiff,                                         Case No.
                                                              CLASS ACTION COMPLAINT
  v.                                                          JURY TRIAL DEMANDED

  UNUM GROUP,
  PROGRESS SOFTWARE CORPORATION.

           Defendants.




                                 CLASS ACTION COMPLAINT

       Plaintiff Francis W. McPherson, individually and on behalf of all similarly situated

persons,      alleges    the   following    against   Unum   Group   and   Progress   Software

Corporation(“Unum” and “PSC” or “Defendant(s)”) based on personal knowledge with respect

to himself and on information and belief derived from, among other things, investigation by her

counsel and review of public documents, as to all other matters:

                                       I.       INTRODUCTION

       1.           Plaintiff brings this class action against Unum and PSC for its failure to

properly secure and safeguard Plaintiff’s and other similarly situated customers’ sensitive

information, including full names, dates of birth, addresses, policy/account numbers, and Social

Security numbers (“personally identifiable information” or “Private Information”) and medical

and health insurance information, which is protected health information (“PHI,” and

collectively with Private Information, “Private Information”) as defined by the Health




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                    1:23-cv-01005
                       MDL No. 3083
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                                                             09/21/23
                                                                    Page
                                                                       Page
                                                                         6 of262
                                                                               of 58




           Insurance Portability and Accountability Act of 1996 (“HIPAA”).

                   2.        Defendant Unum is a Fortune 500 company that owns insurance companies

           that provide disability, life, accident, critical illness, dental, and vision benefits to employees at

           182,000 businesses in the U.S. and U.K.1; . Defendant PSC is a software company offering a

           range of products and services to government and corporate entities across the county and

           around the world, including cloud hosting and secure file transfer services such as MOVEit file

           transfer and MOVEit cloud.

                   3.        Upon information and belief, former and current customers of Defendant’s

           Unum’s subsidiary insurance companies are required to entrust Defendant with sensitive, non-

           public Private Information, without which Defendant Unum’s subsidiaries could not perform

           their regular business activities, in order to obtain services from Defendant’s subsidiaries.

           Defendant retains this information for at least many years and even after the consumer

           relationship has ended.

                   4.        By obtaining, collecting, using, and deriving a benefit from the Private

           Information of Plaintiff and Class Members, Defendant Unum assumed legal and equitable

           duties to those individuals to protect and safeguard that information from unauthorized access

           and intrusion.

                   5.        On or about June 1, 2023, Defendant Unum learned that an instance of its

           MOVEit Transfer application hosted by Defendant PSC was penetrated by a cyberattack.2 On

           June 4, 2023, Unum’s investigation with the assistance of third-party cybersecurity experts

           “identified evidence that, between May 31, 2023 and June 1, 2023, an unauthorized party had




1
    https://www.unum.com/about (last visited Aug. 16, 2023).
2
    See Ex. A (“Notice Letter”).




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              Case
                1:23-cv-01005
                   MDL No. 3083
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                                                         09/21/23
                                                                Page
                                                                   Page
                                                                     7 of362
                                                                           of 58




        exploited the security vulnerability to copy data.”3 As a result of its investigation, Defendant

        Unum concluded₋₋on an undisclosed date₋₋that Plaintiff’s and Class Members’ Private

        Information was compromised in the Data Breach.4

               6.       According to an untitled letter sent to Plaintiff and Class Members, on behalf

        of Defendant Unum(the “Notice Letter”), the compromised Private Information included

        individuals’ names, addresses, dates of birth, Social Security numbers or individual tax

        identification number, medical information, health insurance claim information and policy

        information.5

               7.       Defendants failed to adequately protect Plaintiff's and Class Members’ Private

        Information––and failed to even encrypt or redact this highly sensitive information. This

        unencrypted, unredacted Private Information was compromised due to Defendant's negligent

        and/or careless acts and omissions and their utter failure to protect customers’ sensitive data.

        Hackers targeted and obtained Plaintiff's and Class Members’ Private Information because of

        its value in exploiting and stealing the identities of Plaintiff and Class Members. The present

        and continuing risk to victims of the Data Breach will remain for their respective lifetimes.

               8.       Plaintiff brings this action on behalf of all persons whose Private Information

        was compromised as a result of Defendant’s failure to: (i) adequately protect the Private

        Information of Plaintiff and Class Members; (ii) warn Plaintiff and Class Members of

        Defendant’s inadequate information security practices; and (iii) effectively secure hardware

        containing protected Private Information using reasonable and effective security procedures

        free of vulnerabilities and incidents. Defendant’s conduct amounts at least to negligence and



3
  Id.
4
  Id.
5
  Id.




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         1:23-cv-01005
            MDL No. 3083
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                                              09/25/23
                                                  09/21/23
                                                         Page
                                                            Page
                                                              8 of462
                                                                    of 58




violates federal and state statutes.

          9.     Defendant disregarded the rights of Plaintiff and Class Members by

intentionally, willfully, recklessly, or negligently failing to implement and maintain adequate

and reasonable measures and ensure those measures were followed by its IT vendors to ensure

that the Private Information of Plaintiff and Class Members was safeguarded, failing to take

available steps to prevent an unauthorized disclosure of data, and failing to follow applicable,

required, and appropriate protocols, policies, and procedures regarding the encryption of data,

even for internal use. As a result, the Private Information of Plaintiff and Class Members was

compromised through disclosure to an unknown and unauthorized third party.

          10.    Plaintiff and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they should be entitled to injunctive and other equitable

relief.

          11.    Plaintiff and Class Members have suffered injury as a result of Defendant’s

conduct. These injuries include: (i) invasion of privacy; (ii) lost or diminished value of Private

Information; (iii) lost time and opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach; (iv) loss of benefit of the bargain; (v) and increase in

spam calls, texts, and/or emails; and (vi) the continued and certainly increased risk to their

Private Information, which: (a) remains unencrypted and available for unauthorized third

parties to access and abuse; and (b) remains backed up in Defendant’s possession and is subject

to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the Private Information.

          12.    Plaintiff and Class Members seek to remedy these harms and prevent any future

data compromise on behalf of himself and all similarly situated persons whose personal data




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                 1:23-cv-01005
                    MDL No. 3083
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                                                      09/25/23
                                                          09/21/23
                                                                 Page
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                                                                      9 of562
                                                                            of 58




        was compromised and stolen as a result of the Data Breach and who remain at risk due to

        Defendant’s inadequate data security practices.

                                                       II.       PARTIES

                 13.       Plaintiff Francis W. McPherson, is, and at all times mentioned herein was, an

        individual citizen and resident of Traverse City, Michigan. Plaintiff received a Notice of Data

        Breach letter (attached hereto as Exhibit A), via U.S. mail.6

                 14.       Defendant Unum Group is a Delaware corporation with its principal place of

        business located at 1 Fountain Square, Chattanooga, Tennessee 37402. Defendant PSC is a

        secure file transfer services software company headquartered in New Bedford, Massachusetts.

                                         III.     JURISDICTION AND VENUE

                 15.       The Court has subject matter jurisdiction over this action under the Class

        Action Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million,

        exclusive of interests and costs. Upon information and belief, the number of class members

        exceeds 100, many of whom have different citizenship from PSC and Unum. Thus, minimal

        diversity exists under 28 USC 1332(d)(2)(A).

                 16.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

        substantial part of the events giving rise to this action occurred in this District, and Unum and

        PSC have harmed Class Members residing in this District.

                                           IV.     FACTUAL ALLEGATIONS

                 A.        Defendant's Business

                 17.       Defendant Unum is a Fortune 500 company whose subsidiaries provide “a full

        array of benefits solutions, including benefits communication, enrollment services and claims


6
 See Ex. A.interest and costs. The number of class members is over 100, many of whom reside outside the state of Texas and
have different citizenship from Unum, including Plaintiff. Thus, minimal diversity exists under 28 U.S.C. §1332(d)(2)(A)




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                    1:23-cv-01005
                       MDL No. 3083ECF
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                                                              09/21/23
                                                                    Page
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                                                                         10 of6 62
                                                                                of 58




           support.”7; and Unum utilizes PSC for it’s file sharing needs.

                   18.       Plaintiff and Class Members are current and former customers of Unum’s

           subsidiary insurance companies, who in turn utilized PSC for secure file transfers.

                   19.       As a condition of receiving its products and/or services, Unum’s subsidiary

           insurance companies require that their customers, including Plaintiff and Class Members,

           entrust them with highly sensitive personal information.

                   20.       The information held by Defendant Unum in its computer systems or those of

           its vendors at the time of the Data Breach included the unencrypted Private Information of

           Plaintiff and Class Members.

                   21.       Upon information and belief, Defendant Unum and its subsidiaries made

           promises and representations to their customers, including Plaintiff and Class Members, that

           the Private Information collected from them as a condition of obtaining products and/or services

           at Defendant Unum would be kept safe, confidential, that the privacy of that information would

           be maintained, and that Defendant Unum would delete any sensitive information after it was no

           longer required to maintain it.

                   22.       Plaintiff and Class Members provided their Private Information to Defendant’s

           subsidiaries with the reasonable expectation and on the mutual understanding that Defendant

           Unum would comply with its obligations to keep such information confidential and secure from

           unauthorized access.

                   23.       Plaintiff and the Class Members have taken reasonable steps to maintain the

           confidentiality of their Private Information. Plaintiff and Class Members relied on the

           sophistication of Defendant Unum and PSC to keep their Private Information confidential and



7
    https://www.unum.com/about (last visited Aug. 16, 2023).




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                                                         Page
                                                            Page
                                                              11 of7 62
                                                                     of 58




securely maintained, to use this information for necessary purposes only, and to make only

authorized disclosures of this information. Plaintiff and Class Members value the confidentiality

of their Private Information and demand security to safeguard their Private Information.

        24.      Defendants had a duty to adopt reasonable measures to protect the Private

Information of Plaintiff and Class Members from involuntary disclosure to third parties and to

audit, monitor, and verify the integrity of its IT vendors and affiliates. Defendant has a legal

duty to keep consumer’s Private Information safe and confidential.

        25.      Defendants had obligations created by FTC Act, HIPAA, contract, industry

standards, and representations made to Plaintiff and Class Members, to keep their Private

Information confidential and to protect it from unauthorized access and disclosure.

        26.      Defendants derived a substantial economic benefit from collecting Plaintiff's

and Class Members’ Private Information. Without the required submission of Private Information,

Defendants could not perform the services it provides.

        27.      By obtaining, collecting, using, and deriving a benefit from Plaintiff's and Class

Members’ Private Information, Defendants assumed legal and equitable duties and knew or

should have known that it was responsible for protecting Plaintiff's and Class Members’ Private

Information from disclosure.

        B.       The Data Breach

        28.      On or about August 3, 2023, Unum began sending Plaintiff and other Data

Breach victims an untitled letter, on behalf of Defendant, (the “Notice Letter”), informing them

that:

        What Happened? On June 1, 2023, Unum detected suspicious activity
        involving an instance of its MOVEit Transfer application. Unum promptly
        launched an investigation with the assistance of third-party cybersecurity
        experts. On June 4, 2023, the investigation identified evidence that, between May




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                    1:23-cv-01005
                       MDL No. 3083ECF
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                                                         09/25/23
                                                              09/21/23
                                                                    Page
                                                                       Page
                                                                         12 of8 62
                                                                                of 58




                     31, 2023 and June 1, 2023, an unauthorized party had exploited the security
                     vulnerability to copy data. On July 22, 2023, Unum learned that records
                     containing your personal information were impacted.

                     What Information Was Involved? The information involved varied by
                     individual and may have included name, date of birth, Social Security number
                     or individual tax identification number, medical information, health insurance
                     claim information, and policy information. Financial information and other
                     government issued identification numbers were involved for a limited number
                     of individuals.8

                     29.     Omitted from the Notice Letter were the details of the root cause of the Data

           Breach, the vulnerabilities exploited, and the remedial measures undertaken to ensure such a

           breach does not occur again. To date, these critical facts have not been explained or clarified to

           Plaintiff and Class Members, who retain a vested interest in ensuring that their Private

           Information remains protected.

                     30.     This “disclosure” amounts to no real disclosure at all, as it fails to inform, with

           any degree of specificity, Plaintiff and Class Members of the Data Breach’s critical facts.

           Without these details, Plaintiff’s and Class Members’ ability to mitigate the harms resulting

           from the Data Breach is severely diminished.

                     31.     Defendants did not use reasonable security procedures and practices appropriate

           to the nature of the sensitive information they were maintaining for Plaintiff and Class

           Members, causing the exposure of Private Information, such as encrypting the information or

           deleting it when it is no longer needed. Moreover, Defendants failed to exercise due diligence

           in selecting its IT vendors or deciding with whom it would share sensitive Private Information.

                     32.     The attacker accessed and acquired files Defendants shared with a third party

           containing unencrypted Private Information of Plaintiff and Class Members, including their

           Social Security numbers and other sensitive information. Plaintiff's and Class Members’ Private


8
    Notice Letter.




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            MDL No. 3083ECF
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                                                   09/21/23
                                                         Page
                                                            Page
                                                              13 of9 62
                                                                     of 58




Information was accessed and stolen in the Data Breach.

        33.     Plaintiff further believes his Private Information, and that of Class Members,

was subsequently sold on the dark web following the Data Breach, as that is the modus operandi

of cybercriminals that commit cyber-attacks of this type. Moreover, following the Data Breach,

Plaintiff has experienced suspicious spam and believes this be an attempt to secure additional

Private Information from him.

        C.       Defendant Acquires, Collects, and Stores Plaintiff's and the Class’s
        Private Information.

        34.     As a condition to obtain products and/or services from Unum and its

subsidiaries, Plaintiff and Class Members were required to give their sensitive and confidential

Private Information to Defendant Unum.

        35.     Defendant Unum retains and stores this information and derives a substantial

economic benefit from the Private Information that they collect. But for the collection of

Plaintiff's and Class Members’ Private Information, Defendant Unum would be unable to perform its

services.

        36.     By obtaining, collecting, and storing the Private Information of Plaintiff and

Class Members, Defendants assumed legal and equitable duties and knew or should have known

that they were responsible for protecting the Private Information from disclosure.

        37.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information and relied on Defendants to keep their Private

Information confidential and maintained securely, to use this information for business purposes

only, and to make only authorized disclosures of this information.

        38.     Defendants could have prevented this Data Breach by properly securing and

encrypting the files and file servers containing the Private Information of Plaintiff and Class




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                       MDL No. 3083
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                                                             09/21/23
                                                                   Page
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           Members or by exercising due diligence in selecting its IT vendors and properly auditing those

           vendor’s security practices.

                    39.       Upon information and belief, Defendant Unum made promises to Plaintiff and

           Class Members to maintain and protect their Private Information, demonstrating an

           understanding of the importance of securing Private Information.

                    40.       Defendant's negligence in safeguarding the Private Information of Plaintiff and

           Class Members is exacerbated by the repeated warnings and alerts directed to protecting and

           securing sensitive data.

                    E.       Defendants Knew or Should Have Known of the Risk Because Financial
                             Institutions in Possession of Private Information Are Particularly Suspectable
                             to Cyber Attacks.

                    41.       Defendant’s data security obligations were particularly important given the

           substantial increase in cyber-attacks and/or data breaches targeting financial institutions that

           collect and store Private Information, like Defendant, preceding the date of the breach.

                    42.       Data thieves regularly target companies like Defendant's due to the highly

           sensitive information in their custody. Defendant knew and understood that unprotected Private

           Information is valuable and highly sought after by criminal parties who seek to illegally

           monetize that Private Information through unauthorized access.

                    43.       In 2021, a record 1,862 data breaches occurred, resulting in approximately

           293,927,708 sensitive records being exposed, a 68% increase from 2020.9

                    44.       In light of recent high profile data breaches at other industry leading companies,

           including, Microsoft (250 million records, December 2019), Wattpad (268 million records, June

           2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January



9
    See 2021 Data Breach Annual Report (ITRC, Jan. 2022) (https://notified.idtheftcenter.org/s/), at 6.




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                1:23-cv-01005
                    MDL No. 3083
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                                  No. 1, PageID.11
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                                                     09/25/23
                                                          09/21/23
                                                                Page
                                                                   Page
                                                                     15 of1162of 58




        2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion

        records, May 2020), Defendant knew or should have known that the Private Information that

        they collected and maintained would be targeted by cybercriminals.

                 45.       As a custodian of Private Information, Defendants knew, or should have

        known, the importance of safeguarding the Private Information entrusted to it by Plaintiff and

        Class members, and of the foreseeable consequences if its data security systems, or those of its

        vendors, were breached, including the significant costs imposed on Plaintiff and Class Members

        as a result of a breach.

                 46.       Despite the prevalence of public announcements of data breach and data

        security compromises, Defendants failed to take appropriate steps to protect the Private

        Information of Plaintiff and Class Members from being compromised.

                 47.       At all relevant times, Defendants knew, or reasonably should have known, of

        the importance of safeguarding the Private Information of Plaintiff and Class Members and

        of the foreseeable consequences that would occur if Defendant's data security system was breached,

        including, specifically, the significant costs that would be imposed on Plaintiff and Class Members as a

        result of a breach.

                 48.       Additionally, as companies became more dependent on computer systems to

        run their business,10 e.g., working remotely as a result of the COVID-19 pandemic, and the

        Internet of Things (“IoT”), the danger posed by cybercriminals is magnified, thereby

        highlighting the need for adequate administrative, physical, and technical safeguards.11

                 49.       Defendants were, or should have been, fully aware of the unique type and the



10
   https://www.federalreserve.gov/econres/notes/feds-notes/implications-of-cyber-risk-for-financial-
stability-20220512.html (last visited Aug. 16, 2023).
11
   https://www.picussecurity.com/key-threats-and-cyber-risks-facing-financial-services-and-banking-
firms-in-2022 (last visited Aug. 16, 2023).




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           MDL No. 3083
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                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            16 of1262of 58




significant volume of data on Defendant's server(s), amounting to potentially thousands of

individuals detailed, Private Information, and, thus, the significant number of individuals who

would be harmed by the exposure of the unencrypted data.

       50.      In the Notice Letter, Defendant Unum offers to cover identity monitoring

services for a period of 24 months. This is wholly inadequate to compensate Plaintiff and Class

Members as it fails to provide for the fact victims of data breaches and other unauthorized

disclosures commonly face multiple years of ongoing identity theft, financial fraud, and it

entirely fails to provide sufficient compensation for the unauthorized release and disclosure of

Plaintiff and Class Members’ Private Information. Moreover, once this service expires, Plaintiff

and Class Members will be forced to pay out of pocket for necessary identity monitoring

services.

       51.      Defendant Unum's offer of credit and identity monitoring establishes that

Plaintiff's and Class Members’ sensitive Private Information was in fact affected, accessed,

compromised, and exfiltrated from Defendant's computer systems.

       52.      The injuries to Plaintiff and Class Members were directly and proximately

caused by Defendant's failure to implement or maintain adequate data security measures for the

Private Information of Plaintiff and Class Members.

       53.      The ramifications of Defendant's failure to keep secure the Private Information

of Plaintiff and Class Members are long lasting and severe. Once Private Information is stolen–

– particularly Social Security numbers––fraudulent use of that information and damage to

victims may continue for years.

       54.      As a financial institution in possession of its customers’ and former customers’

Private Information, Defendant knew, or should have known, the importance of safeguarding




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                   MDL No. 3083
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                                                    09/25/23
                                                         09/21/23
                                                               Page
                                                                  Page
                                                                    17 of1362of 58




        the Private Information entrusted to them by Plaintiff and Class Members and of the foreseeable

        consequences if its data security systems were breached. This includes the significant costs

        imposed on Plaintiff and Class Members as a result of a breach. Nevertheless, Defendants failed

        to take adequate cybersecurity measures to prevent the Data Breach.

                F.        Value Of Personally Identifiable Information
                55.       The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

        committed or attempted using the identifying information of another person without

        authority.”12 The FTC describes “identifying information” as “any name or number that may be

        used, alone or in conjunction with any other information, to identify a specific person,”

        including, among other things, “[n]ame, Social Security number, date of birth, official State or

        government issued driver’s license or identification number, alien registration number,

        government passport number, employer or taxpayer identification number.”13

                56.       The PII of individuals remains of high value to criminals, as evidenced by the

        prices they will pay through the dark web. Numerous sources cite dark web pricing for stolen

        identity credentials.14

                57.       For example, PII can be sold at a price ranging from $40 to $200.15 Criminals

        can also purchase access to entire company data breaches from $900 to $4,500.16

                58.       Based on the foregoing, the information compromised in the Data Breach is

        significantly more valuable than the loss of, for example, credit card information in a retailer


12
   17 C.F.R. § 248.201 (2013).
13
   Id.
14
   Your personal data is for sale on the dark web. Here’s how much it costs, DIGITAL TRENDS, Oct. 16, 2019,
https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/ (last visited Aug. 16,
2023).
15
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, EXPERIAN, Dec. 6, 2017,
https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-for- on-the-dark-web/
(last visited Aug. 16, 2023).
16
   In the Dark, VPNOVERVIEW, 2019, https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last visited
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                                                          09/21/23
                                                                Page
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                                                                     18 of1462of 58




        data breach because, there, victims can cancel or close credit and debit card accounts. The

        information compromised in this Data Breach is impossible to “close” and difficult, if not

        impossible, to change—names and Social Security numbers.

                59.       This data demands a much higher price on the black market. Martin Walter,

        senior director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

        personally identifiable information . . . [is] worth more than 10x on the black market.”17

                60.       Among other forms of fraud, identity thieves may obtain driver’s licenses,

        government benefits, medical services, and housing or even give false information to police.

                61.       The fraudulent activity resulting from the Data Breach may not come to light

        for years. There may be a time lag between when harm occurs versus when it is discovered, and

        also between when Private Information is stolen and when it is used. According to the U.S.

        Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

                [L]aw enforcement officials told us that in some cases, stolen data may be held
                for up to a year or more before being used to commit identity theft. Further, once
                stolen data have been sold or posted on the Web, fraudulent use of that
                information may continue for years. As a result, studies that attempt to measure
                the harm resulting from data breaches cannot necessarily rule out all future
                harm.18

                G.        Unum and PSC Failed to Comply with FTC Guidelines.

                62.       The Federal Trade Commission (“FTC”) has promulgated numerous guides for

        businesses which highlight the importance of implementing reasonable data security practices.

        According to the FTC, the need for data security should be factored into all business decision

        making. Indeed, the FTC has concluded that a company’s failure to maintain reasonable and


17
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT WORLD (Feb. 6,
2015), https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-price-of-stolen-
credit-card-numbers.html (last visited Aug. 16, 2023).
18
   Report to Congressional Requesters, GAO, at 29 (June 2007), https://www.gao.gov/assets/gao-07- 737.pdf (last visited
Aug. 16, 2023).




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           MDL No. 3083
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                         No. 1, PageID.15
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                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            19 of1562of 58




appropriate data security for consumers’ sensitive personal information is an “unfair practice”

in violation of Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. See,

e.g., FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).

        63.      In October 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cybersecurity guidelines for businesses.

The guidelines note that businesses should protect the personal customer information that they

keep, properly dispose of personal information that is no longer needed, encrypt information

stored on computer networks, understand their network’s vulnerabilities, and implement

policies to correct any security problems. The guidelines also recommend that businesses use

an intrusion detection system to expose a breach as soon as it occurs, monitor all incoming

traffic for activity indicating someone is attempting to hack into the system, watch for large amounts

of data being transmitted from the system, and have a response plan ready in the event of a breach.

        64.      The FTC further recommends that companies not maintain Private Information

longer than is needed for authorization of a transaction, limit access to sensitive data, require

complex passwords to be used on networks, use industry-tested methods for security, monitor

the network for suspicious activity, and verify that third-party service providers have

implemented reasonable security measures.

        65.      The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data by treating the failure to employ reasonable

and appropriate measures to protect against unauthorized access to confidential consumer data

as an unfair act or practice prohibited by the FTCA. Orders resulting from these actions further

clarify the measures businesses must take to meet their data security obligations.

        66.      These FTC enforcement actions include actions against financial institutions,

like Defendant Unum.




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                   MDL No. 3083
                             ECFDocument
                                 No. 1, PageID.16
                                          303 FiledFiled
                                                    09/25/23
                                                         09/21/23
                                                               Page
                                                                  Page
                                                                    20 of1662of 58




                67.       As evidenced by the Data Breach, Unum and PSC failed to properly implement

        basic data security practices and failed to audit, monitor, or ensure the integrity of its vendor’s

        data security practices. Unum’s and PSC’s failure to employ reasonable and appropriate

        measures to protect against unauthorized access to Plaintiff’s and Class Members’ Private

        Information constitutes an unfair act or practice prohibited by Section 5 of the FTCA.

                68.       Unum and PSC were at all times fully aware of its obligation to protect the

        Private Information of its customers yet failed to comply with such obligations. Defendant was

        also aware of the significant repercussions that would result from its failure to do so.

                H.       Defendants Fail to Comply with HIPAA Guidelines.

                 69.     Defendants are a covered Business Associate under HIPAA (45 C.F.R. § 160.103)

        and is required to comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R. Part 160

        and Part 164, Subparts A and E ("Standards for Privacy of Individually Identifiable Health

        Information"), and Security Rule ("Security Standards for the Protection of Electronic Protected

        Health Information"), 45 C.F.R. Part 160 and Part 164, Subparts A and C.

                 70.     Defendants are subject to the rules and regulations for safeguarding electronic

        forms of medical information pursuant to the Health Information Technology Act

        ("HITECH").19 See 42U.S.C. §17921, 45 C.F.R. § 160.103.

                 71.     HIPAA’s Privacy Rule or Standards for Privacy of Individually Identifiable

        Health Information establishes national standards for the protection of health information.

                 72.     HIPAA’s Privacy Rule or Security Standards for the Protection of Electronic

        Protected Health Information establishes a national set of security standards for protecting

        health information that is kept or transferred in electronic form.


19
  HIPAA and HITECH work in tandem to provide guidelines and rules for maintaining protected health information.
HITECH references and incorporates HIPAA.




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       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.17
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
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                                                            21 of1762of 58




       73.       HIPAA requires "compl[iance] with the applicable standards, implementation

specifications, and requirements" of HIPAA "with respect to electronic protected health

information." 45 C.F.R. § 164.302.

       74.       "Electronic protected health information" is "individually identifiable health

information … that is (i) transmitted by electronic media; maintained in electronic media."

45 C.F.R. § 160.103.

       75.       HIPAA’s Security Rule requires Defendants to do the following:

                 a.     Ensure the confidentiality, integrity, and availability of all electronic

       protected health information the covered entity or business associate creates, receives,

       maintains, or transmits;

                 b.     Protect against any reasonably anticipated threats or hazards to the

       security or integrity of such information;

                 c.     Protect against any reasonably anticipated uses or disclosures of such

       information that are not permitted; and

                 d.     Ensure compliance by its workforce.

       76.       HIPAA also requires Defendants to "review and modify the security measures

implemented … as needed to continue provision of reasonable and appropriate protection of

electronic protected health information." 45 C.F.R. § 164.306(e). Additionally, Defendants are

required under HIPAA to "[i]mplement technical policies and procedures for electronic

information systems that maintain electronic protected health information to allow access only

to those persons or software programs that have been granted access rights." 45 C.F.R. §

164.312(a)(1).

       77.       HIPAA and HITECH also obligated Defendants to implement policies and




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                    MDL No. 3083
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                                                     09/25/23
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        procedures to prevent, detect, contain, and correct security violations, and to protect against

        uses or disclosures of electronic protected health information that are reasonably anticipated

        but not permitted by the privacy rules. See 45 C.F.R. § 164.306(a)(1) and § 164.306(a)(3);

        see also 42 U.S.C. §17902.

                 78.     The HIPAA Breach Notification Rule, 45 C.F.R. §§ 164.400-414, also requires

        Defendants to provide notice of the Data Breach to each affected individual "without

        unreasonable delay and in no case later than 60 days following discovery of the breach."20

                 79.     HIPAA requires a covered entity to have and apply appropriate sanctions against

        members of its workforce who fail to comply with the privacy policies and procedures of the

        covered entity or the requirements of 45 C.F.R. Part 164, Subparts D or E. See 45 C.F.R. §

        164.530(e).

                 80.     HIPAA requires a covered entity to mitigate, to the extent practicable, any

        harmful effect that is known to the covered entity of a use or disclosure of protected health

        information in violation of its policies and procedures or the requirements of 45 C.F.R. Part 164,

        Subpart E by the covered entity or its business associate. See 45 C.F.R. § 164.530(f).

                 81.     HIPAA also requires the Office of Civil Rights ("OCR"), within the Department

        of Health and Human Services ("HHS"), to issue annual guidance documents on the provisions

        in the HIPAA Security Rule. See 45 C.F.R. §§ 164.302-164.318. For example, "HHS has

        developed guidance and tools to assist HIPAA covered entities in identifying and implementing

        the most cost effective and appropriate administrative, physical, and technical safeguards to

        protect the confidentiality, integrity, and availability of e-PHI and comply with the risk analysis

        requirements of the Security Rule." US Department of Health & Human Services, Security Rule


20
  Breach Notification Rule, U.S. Dep’t of Health & Human Services, https://www.hhs.gov/hipaa/for- professionals/breach-
notification/index.html (emphasis added) (last visited Aug. 16, 2023).




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                    MDL No. 3083
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                                           303 FiledFiled
                                                     09/25/23
                                                          09/21/23
                                                                Page
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                                                                     23 of1962of 58




        Guidance Material.21 The list of resources includes a link to guidelines set by the National

        Institute of Standards and Technology (NIST), which OCR says "represent the industry

        standard for good business practices with respect to standards for securing e-PHI." US Department

        of Health & Human Services, Guidance on Risk Analysis.22

                 I.        Unum and PSC Failed to Comply with Industry Standards.

                 82.      As noted above, experts studying cybersecurity routinely identify financial

        institutions as being particularly vulnerable to cyberattacks because of the value of the Private

        Information which they collect and maintain.

                 83.       Some industry best practices that should be implemented by financial

        institutions dealing with sensitive Private Information, like Unum, include but are not limited to:

        educating all employees, strong password requirements, multilayer security including firewalls,

        anti-virus and anti-malware software, encryption, multi-factor authentication, backing up data,

        and limiting which employees can access sensitive data. As evidenced by the Data Breach,

        Defendants failed to follow some or all of these industry best practices.

                 84.       Other best cybersecurity practices that are standard in the financial industry

        include: installing appropriate malware detection software; monitoring and limiting network

        ports; protecting web browsers and email management systems; setting up network systems

        such as firewalls, switches, and routers; monitoring and protecting physical security systems;

        and training staff regarding these points. As evidenced by the Data Breach, Defendants failed

        to follow these cybersecurity best practices.

                 85.       Defendant failed to meet the minimum standards of any of the following



21
  http://www.hhs.gov/hipaa/for-professionals/security/guidance/index.html (last visited Aug. 16, 2023).
22
  https://www.hhs.gov/hipaa/for-professionals/security/guidance/guidance-risk-analysis/index.html (last
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       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.20
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            24 of2062of 58




frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-

5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

        86.         Defendants failed to comply with these accepted standards in the financial

industry, thereby permitting the Data Breach to occur.

        J.          Unum and PSC Breached Its Duty to Safeguard Plaintiff’s and Class

        Members’ Private Information.

        87.         In addition to its obligations under federal and state laws, Unum and PSC owed

a duty to Plaintiff and Class Members to exercise reasonable care in obtaining, retaining,

securing, safeguarding, deleting, and protecting the Private Information in its possession from

being compromised, lost, stolen, accessed, and misused by unauthorized persons. Unum and

PSC owed a duty to Plaintiff and Class Members to provide reasonable security, including

consistency with industry standards and requirements, and to ensure that its computer systems,

networks, and protocols adequately protected the Private Information of Class Members

        88.         Unum and PSC breached its obligations to Plaintiff and Class Members and/or

was otherwise negligent and reckless because it failed to properly maintain and safeguard its

computer systems and data and failed to audit, monitor, or ensure the integrity of its vendor’s

data security practices. Unum and PSC’s unlawful conduct includes, but is not limited to, the

following acts and/or omissions:

               a.           Failing to maintain an adequate data security system that would reduce

        the risk of data breaches and cyberattacks;

               b.           Failing to adequately protect customers’ Private Information;




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       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.21
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                                            09/25/23
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                                                       Page
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                                                            25 of2162of 58




              c.           Failing to properly monitor its own data security systems for existing

       intrusions;

              d.           Failing to audit, monitor, or ensure the integrity of its vendor’s data

       security practices;

              e.           Failing to sufficiently train its employees and vendors regarding the

       proper handling of its customers Private Information;

              f.           Failing to fully comply with FTC guidelines for cybersecurity in

       violation of the FTCA;

              g.           Failing to adhere to HIPAA and industry standards for cybersecurity

       as discussed above; and

              h.           Otherwise breaching its duties and obligations to protect Plaintiff’s and

       Class Members’ Private Information.

       89.         Unum and PSC negligently and unlawfully failed to safeguard Plaintiff’s and

Class Members’ Private Information by allowing cyberthieves to access its computer network

and systems which contained unsecured and unencrypted Private Information.

       90.         Had Unum and PSC remedied the deficiencies in its information storage and

security systems or those of its vendors and affiliates, followed industry guidelines, and adopted

security measures recommended by experts in the field, it could have prevented intrusion into

its information storage and security systems and, ultimately, the theft of Plaintiff’s and Class

Members’ confidential Private Information.

       J.          Common Injuries & Damages

       91.         As a result of Defendant’s ineffective and inadequate data security practices,

the Data Breach, and the foreseeable consequences of Private Information ending up in the




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       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.22
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            26 of2262of 58




possession of criminals, the risk of identity theft to the Plaintiff and Class Members has

materialized and is imminent, and Plaintiff and Class Members have all sustained actual injuries

and damages, including: (a) invasion of privacy; (b) loss of time and loss of productivity

incurred mitigating the materialized risk and imminent threat of identity theft risk; (c) the loss of

benefit of the bargain (price premium damages); (d) diminution of value of their Private Information;

(e) invasion of privacy; and (f) the continued risk to their Private Information, which remains in the

possession of Defendants, and which is subject to further breaches, so long as Defendants fail to

undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

Information.

        K.       The Data Breach Increases Victims’ Risk of Identity Theft.

        92.        Plaintiff and Class Members are at a heightened risk of identity theft for years to

come.

        93.      The unencrypted Private Information of Class Members will end up for sale on

the dark web because that is the modus operandi of hackers. In addition, unencrypted Private

Information may fall into the hands of companies that will use the detailed Private Information

for targeted marketing without the approval of Plaintiff and Class Members. Unauthorized

individuals can easily access the Private Information of Plaintiff and Class Members.

        94.      The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal Private Information to monetize the information.

Criminals monetize the data by selling the stolen information on the black market to other

criminals who then utilize the information to commit a variety of identity theft related crimes

discussed below.

        95.      Because a person’s identity is akin to a puzzle with multiple data points, the

more accurate pieces of data an identity thief obtains about a person, the easier it is for the thief




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                1:23-cv-01005
                    MDL No. 3083
                              ECFDocument
                                  No. 1, PageID.23
                                           303 FiledFiled
                                                     09/25/23
                                                          09/21/23
                                                                Page
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                                                                     27 of2362of 58




         to take on the victim’s identity—or track the victim to attempt other hacking crimes against the

         individual to obtain more data to perfect a crime.

                  96.        For example, armed with just a name and date of birth, a data thief can utilize

         a hacking technique referred to as “social engineering” to obtain even more information about

         a victim’s identity, such as a person’s login credentials or Social Security number. Social

         engineering is a form of hacking whereby a data thief uses previously acquired information to

         manipulate and trick individuals into disclosing additional confidential or personal information

         through means such as spam phone calls and text messages or phishing emails. Data Breaches

         can be the starting point for these additional targeted attacks on the victim.

                  97.        One such example of criminals piecing together bits and pieces of

         compromised Private Information for profit is the development of “Fullz” packages.23

                  98.        With “Fullz” packages, cyber-criminals can cross-reference two sources of

         Private Information to marry unregulated data available elsewhere to criminally stolen data with

         an astonishingly complete scope and degree of accuracy in order to assemble complete dossiers

         on individuals.

                  99.        The development of “Fullz” packages means here that the stolen Private

         Information from the Data Breach can easily be used to link and identify it to Plaintiffs’ and

         Class Members’ phone numbers, email addresses, and other unregulated sources and identifiers.


23
  “Fullz” is fraudster speak for data that includes the information of the victim, including, but not limited to, the name,
address, credit card information, social security number, date of birth, and more. As a rule of thumb, the more information
you have on a victim, the more money that can be made off those credentials. Fullz are usually pricier than standard credit
card credentials, commanding up to $100 per record (or more) on the dark web. Fullz can be cashed out (turning credentials
into money) in various ways, including performing bank transactions over the phone with the required authentication details
in-hand. Even “dead Fullz,” which are Fullz credentials associated with credit cards that are no longer valid, can still be used
for numerous purposes, including tax refund scams, ordering credit cards on behalf of the victim, or opening a “mule
account” (an account that will accept a fraudulent money transfer from a compromised account) without the victim’s
knowledge. See, e.g., Brian Krebs, Medical Records for Sale in Underground Stolen from Texas Life Insurance Firm, Krebs
on Security (Sep. 18, 2014), https://krebsonsecuritv.com/2014/09/ medical-records-for-sale-in-underground-stolen-from-
texas-life-insurance-firm (last visited Aug. 16, 2023).




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       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.24
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            28 of2462of 58




In other words, even if certain information such as emails, phone numbers, or credit card

numbers may not be included in the Private Information that was exfiltrated in the Data Breach,

criminals may still easily create a Fullz package and sell it at a higher price to unscrupulous operators

and criminals (such as illegal and scam telemarketers) over and over.

        100.      The existence and prevalence of “Fullz” packages means that the Private

Information stolen from the data breach can easily be linked to the unregulated data (like driver's

license numbers) of Plaintiff and the other Class Members.

        101.      Thus, even if certain information (such as driver's license numbers) was not

stolen in the data breach, criminals can still easily create a comprehensive “Fullz” package.

        102.      Then, this comprehensive dossier can be sold—and then resold in perpetuity—

to crooked operators and other criminals (like illegal and scam telemarketers).

        L.        Loss Of Time to Mitigate Risk of Identity Theft and Fraud

        103.      As a result of the recognized risk of identity theft, when a Data Breach occurs,

and an individual is notified by a company that their Private Information was compromised, as

in this Data Breach, the reasonable person is expected to take steps and spend time to address

the dangerous situation, learn about the breach, and otherwise mitigate the risk of becoming a

victim of identity theft of fraud. Failure to spend time taking steps to review accounts or credit

reports could expose the individual to greater financial harm—yet, the resource and asset of time

has been lost.

        104.      Thus, due to the actual and imminent risk of identity theft, Plaintiff and Class

Members must, as Defendant’s Notice Letter instructs, "remain vigilant" and monitor their

financial accounts for many years to mitigate the risk of identity theft.

        105.      Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions to remedy the harms they have or may experience as a




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              Case
                1:23-cv-01005
                    MDL No. 3083
                              ECFDocument
                                  No. 1, PageID.25
                                           303 FiledFiled
                                                     09/25/23
                                                          09/21/23
                                                                Page
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                                                                     29 of2562of 58




        result of the Data Breach, such as contacting credit bureaus to place freezes on their accounts;

        changing passwords and resecuring their own computer networks; and checking their financial

        accounts for any indication of fraudulent activity, which may take years to detect.

                 106.       These efforts are consistent with the U.S. Government Accountability Office

        that released a report in 2007 regarding data breaches (“GAO Report”) in which it noted that

        victims of identity theft will face “substantial costs and time to repair the damage to their good

        name and credit record.”24

                 107.       These efforts are also consistent with the steps that FTC recommends that data

        breach victims take several steps to protect their personal and financial information after a data

        breach, including: contacting one of the credit bureaus to place a fraud alert (consider an

        extended fraud alert that lasts for seven years if someone steals their identity), reviewing their

        credit reports, contacting companies to remove fraudulent charges from their accounts, placing

        a credit freeze on their credit, and correcting their credit reports.25

                 108.       A study by Identity Theft Resource Center shows the multitude of harms

        caused by fraudulent use of personal and financial information:26




24
   See United States Government Accountability Office, GAO-07-737, Personal Information: Data Breaches Are Frequent,
but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is Unknown (June 2007),
https://www.gao.gov/new.items/d07737.pdf.
25
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps (last visited Aug. 16, 2023).
26
   Jason Steele, “Credit Card and ID Theft Statistics,” Oct. 24, 2017, https://www.creditcards.com/credit- card-news/credit-
card-security-id-theft-fraud-statistics-1276.php (last visited Aug. 16, 2023).




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                1:23-cv-01005
                    MDL No. 3083
                              ECFDocument
                                  No. 1, PageID.26
                                           303 FiledFiled
                                                     09/25/23
                                                          09/21/23
                                                                Page
                                                                   Page
                                                                     30 of2662of 58




                 109.       And for those Class Members who experience actual identity theft and fraud,

        the United States Government Accountability Office released a report in 2007 regarding data

        breaches (“GAO Report”) in which it noted that victims of identity theft will face “substantial

        costs and time to repair the damage to their good name and credit record.”27

                 M.         Diminution in Value of Private Information

                 110.       Private Information is a valuable property right.28 Its value is axiomatic,

        considering the value of Big Data in corporate America and the consequences of cyber thefts

        include heavy prison sentences. Even this obvious risk to reward analysis illustrates beyond

        doubt that Private Information has considerable market value.

                 111.       An active and robust legitimate marketplace for Private Information exists. In


27
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown,” at 2, U.S. GOV’T ACCOUNTABILITY OFFICE, June 2007, https://www.gao.gov/ new.items/d07737.pdf (last
visited Aug. 16, 2023) (“GAO Report”).
28
   See, e.g., Randall T. Soma, et al., Corporate Privacy Trend: The “Value” of Personally Identifiable Information (“Private
Information”) Equals the “Value” of Financial Assets, 15 RICH. J.L. & TECH. 11, at *3-4 (2009) (“Private Information,
which companies obtain at little cost, has quantifiable value that is rapidly reaching a level comparable to the value of
traditional financial assets.”) (citations omitted).




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                    MDL No. 3083
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                                                     09/25/23
                                                          09/21/23
                                                                Page
                                                                   Page
                                                                     31 of2762of 58




        2019, the data brokering industry was worth roughly $200 billion.29

                  112.      In fact, the data marketplace is so sophisticated that consumers can actually sell

        their non-public information directly to a data broker who in turn aggregates the information

        and provides it to marketers or app developers.3031

                  113.      Consumers who agree to provide their web browsing history to the Nielsen

        Corporation can receive up to $50.00 a year.32

                  114.      Conversely sensitive Private Information can sell for as much as $363 per

        record on the dark web according to the Infosec Institute.33

                  115.      As a result of the Data Breach, Plaintiff’s and Class Members’ Private

        Information, which has an inherent market value in both legitimate and dark markets, has been

        damaged and diminished by its compromise and unauthorized release. However, this transfer

        of value occurred without any consideration paid to Plaintiff or Class Members for their

        property, resulting in an economic loss. Moreover, the Private Information is now readily

        available, and the rarity of the Data has been lost, thereby causing additional loss of value.

                  116.      Based on the foregoing, the information compromised in the Data Breach is

        significantly more valuable than the loss of, for example, credit card information in a retailer

        data breach because, there, victims can cancel or close credit and debit card accounts. The

        information compromised in this Data Breach is impossible to “close” and difficult, if not

        impossible, to change, e.g., names and Social Security numbers.




29
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers (last visited Aug. 16, 2023).
30
   https://datacoup.com/ (last visited Aug. 16, 2023).
31
   https://digi.me/what-is-digime/ (last visited Aug. 16, 2023).
32
   Nielsen Computer & Mobile Panel, Frequently Asked Questions, https://computermobilepanel.
nielsen.com/ui/US/en/faqen.html (last visited Aug. 16, 2023).
33
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/ (last visited Aug. 16, 2023).




                                                              27
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     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.28
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            32 of2862of 58




         117.    Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         118.    The fraudulent activity resulting from the Data Breach may not come to light for

years.

         119.    At all relevant times, Defendants knew, or reasonably should have known, of

the importance of safeguarding the Private Information of Plaintiff and Class Members, and of

the foreseeable consequences that would occur if Defendant’s data security system was

breached, including, specifically, the significant costs that would be imposed on Plaintiff and

Class Members as a result of a breach.

         120.    Defendants were, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s network, amounting to thousands of individuals'

detailed personal information, upon information and belief, and thus, the significant number of

individuals who would be harmed by the exposure of the unencrypted data.

         121.    The injuries to Plaintiff and Class Members were directly and proximately

caused by Defendant’s failure to implement or maintain adequate data security measures for the

Private Information of Plaintiff and Class Members.

         N.     Future Cost of Credit and Identity Theft Monitoring Is Reasonable

                and Necessary.

         122.    Given the type of targeted attack in this case and sophisticated criminal activity,

the type of Private Information involved, and the volume of data obtained in the Data Breach,

there is a strong probability that entire batches of stolen information have been placed, or will be

placed, on the black market/dark web for sale and purchase by criminals intending to utilize the

Private Information for identity theft crimes—e.g., opening bank accounts in the victims’ names




                                              28
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     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.29
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            33 of2962of 58




to make purchases or to launder money; file false tax returns; take out loans or lines of credit; or file

false unemployment claims.

        123.      Such fraud may go undetected until debt collection calls commence months, or

even years, later. An individual may not know that her or her Social Security number was used

to file for unemployment benefits until law enforcement notifies the individual’s employer of

the suspected fraud. Fraudulent tax returns are typically discovered only when an individual’s

authentic tax return is rejected.

        124.      Consequently, Plaintiff and Class Members are at a present and continuous risk

of fraud and identity theft for many years into the future.

        125.      The retail cost of credit monitoring and identity theft monitoring can cost

around $200 a year per Class Member. This is a reasonable and necessary cost to monitor to protect

Class Members from the risk of identity theft that arose from Defendant’s Data Breach. This is a future

cost for a minimum of five years that Plaintiff and Class Members would not need to bear but for

Defendant’s failure to safeguard their Private Information.

        O.       Loss of the Benefit of the Bargain

        126.      Furthermore, Defendant’s poor data security deprived Plaintiff and Class

Members of the benefit of their bargain. When agreeing to pay Defendant and/or its agents for

products and/or services, Plaintiff and other reasonable consumers understood and expected

that they were, in part, paying for the product and/or service and necessary data security to

protect the Private Information, when in fact, Defendants did not provide the expected data

security. Accordingly, Plaintiff and Class Members received products and/or services that were

of a lesser value than what they reasonably expected to receive under the bargains they struck

with Defendants.




                                                29
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      Case
        1:23-cv-01005
            MDL No. 3083
                      ECFDocument
                          No. 1, PageID.30
                                   303 FiledFiled
                                             09/25/23
                                                  09/21/23
                                                        Page
                                                           Page
                                                             34 of3062of 58




        P.       Plaintiff McPherson’s Experience

        127.      Plaintiff Francis W. McPherson is a current customer of one of Unum’s

subsidiaries.

        128.     In order to obtain insurance and/or other services at one of Unum’s subsidiaries,

Plaintiff was required to provide her Private Information to Defendant, including his name,

address, date of birth, Social Security number, medical information, health insurance claim

information, and policy information.

        129.     At the time of the Data Breach₋₋approximately May 31, 2023, through June 1,

2023₋₋Defendant retained Plaintiff’s Private Information in its system.

        130.      Plaintiff McPherson is very careful about sharing his sensitive Private

Information. Plaintiff stores any documents containing her Private Information in a safe and

secure location. He has never knowingly transmitted unencrypted sensitive Private Information

over the internet or any other unsecured source. Plaintiff would not have entrusted his Private

Information to Defendant had he known of Defendant’s lax data security policies.

        131.     Plaintiff received the Notice Letter, by U.S. mail, from Unum, dated August 9,

2023. According to the Notice Letter, Plaintiff’s Private Information was improperly accessed

and obtained by unauthorized third parties, including his name, date of birth, address, social

security number, medical information, health insurance claim information, and policy

information.

        132.     As a result of the Data Breach, and at the direction of Defendant’s Notice

Letter, Plaintiff made reasonable efforts to mitigate the impact of the Data Breach, including

contacting credit bureaus to place freezes on his accounts; changing passwords and resecuring

his own computer network; and checking his financial accounts for any indication of




                                             30
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.31
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            35 of3162of 58




fraudulent activity, which may take years to detect. Plaintiff has spent significant time dealing

with the Data Breach₋₋valuable time Plaintiff otherwise would have spent on other activities,

including but not limited to work and/or recreation. This time has been lost forever and cannot

be recaptured.

        133.      Plaintiff suffered actual injury from having his Private Information

compromised as a result of the Data Breach including, but not limited to: (i) lost or diminished

value of his Private Information; (ii) lost opportunity costs associated with attempting to

mitigate the actual consequences of the Data Breach, including but not limited to lost time; (iii)

invasion of privacy; (iv) loss of benefit of the bargain; and (v) the continued and certainly increased

risk to his Private Information, which: (a) remains unencrypted and available for unauthorized third

parties to access and abuse; and (b) remains backed up in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate measures to

protect the Private Information.

        134.      Plaintiff further suffered actual injury in the form of experiencing an increase

in spam calls, texts, and/or emails, which, upon information and belief, was caused by the Data

Breach and only began following the Data Breach.

        135.      The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress, which

has been compounded by the fact that Defendant has still not fully informed him of key details

about the Data Breach’s occurrence.

        136.      As a result of the Data Breach, Plaintiff anticipates spending considerable time

and money on an ongoing basis to try to mitigate and address harms caused by the Data Breach.

        137.      As a result of the Data Breach, Plaintiff is at a present risk and will continue to

be at increased risk of identity theft and fraud for years to come.

        138.      Plaintiff has a continuing interest in ensuring that his Private Information,




                                                 31
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.32
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            36 of3262of 58




which, upon information and belief, remains backed up in Defendant’s possession, is protected

and safeguarded from future breaches.

                                V.      CLASS ACTION ALLEGATIONS

        139.     Plaintiff brings this action individually and on behalf of all other persons

similarly situated, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2), and

23(b)(3).

        140.     Specifically, Plaintiff proposes the following class definition, subject to

amendment as appropriate:

        All individuals in the United States whose Private Information was compromised as a
        result of exploitation of Progress Software Corporation’s MOVEit Transfer and MOVEit
        Cloud vulnerability. (the “Class”).

        141.     Excluded from the Class are Defendant and its parents or subsidiaries, any

entities in which it has a controlling interest, as well as its officers, directors, affiliates, legal

representatives, heirs, predecessors, successors, and assigns. Also excluded is any Judge to

whom this case is assigned as well as their judicial staff and immediate family members.

        142.     Plaintiff reserves the right to modify or amend the definition of the proposed

Class, as well as add subclasses, before the Court determines whether certification is

appropriate.

        143.     The proposed Class meets the criteria for certification under Fed. R. Civ. P.

23(a), (b)(2), and (b)(3).

        144.      Numerosity. The Class Members are so numerous that joinder of all members

is impracticable. Upon information and belief, Plaintiff believes that the proposed Class

includes thousands of individuals who have been damaged by Defendant’s conduct as alleged

herein. The precise number of Class Members is unknown to Plaintiff but may be ascertained




                                               32
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.33
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            37 of3362of 58




from Defendant’s records.

       145.        Commonality. There are questions of law and fact common to the Class which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

              a.         Whether Defendants engaged in the conduct alleged herein;

              b.          Whether Defendants conduct violated the FTCA and/or HIPAA;

              c.          When Defendants learned of the Data Breach;

              d.          Whether Defendant’s response to the Data Breach was adequate;

              e.          Whether Defendants unlawfully shared, lost, or disclosed Plaintiff’s

       and Class Members’ Private Information;

              f.          Whether Defendants failed to implement and maintain reasonable

       security procedures and practices appropriate to the nature and scope of the Private

       Information compromised in the Data Breach;

              g.          Whether Defendant’s data security systems prior to and during the

       Data Breach complied with applicable data security laws and regulations;

              h.          Whether Defendant’s data security systems prior to and during the

       Data Breach were consistent with industry standards;

              i.          Whether Defendants owed a duty to Class Members to safeguard their

       Private Information;

              j.          Whether Defendants breached its duty to Class Members to safeguard

       their Private Information;

              k.          Whether hackers obtained Class Members’ Private Information via the

       Data Breach;




                                            33
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.34
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            38 of3462of 58




              l.          Whether Defendants had a legal duty to provide timely and accurate

       notice of the Data Breach to Plaintiff and the Class Members;

              m.          Whether Defendants breached its duty to provide timely and accurate

       notice of the Data Breach to Plaintiff and Class Members;

              n.          Whether Defendants knew or should have known that its data security

       systems and monitoring processes were deficient;

              o.          What damages Plaintiff and Class Members suffered as a result of

       Defendant’s misconduct;

              p.          Whether Defendant’s conduct was negligent;

              q.          Whether Defendants were unjustly enriched;

              r.          Whether Plaintiff and Class Members are entitled to actual and/or

       statutory damages;

              s.          Whether Plaintiff and Class Members are entitled to additional credit

       or identity monitoring and monetary relief; and

              t.          Whether Plaintiff and Class Members are entitled to equitable relief,

       including injunctive relief, restitution, disgorgement, and/or the establishment of a

       constructive trust.

       146.        Typicality. Plaintiff’s claims are typical of those of other Class Members

because Plaintiff’s Private Information, like that of every other Class Member, was

compromised in the Data Breach. Plaintiff’s claims are typical of those of the other Class

Members because, inter alia, all Class Members were injured through the common misconduct

of Defendants. Plaintiff is advancing the same claims and legal theories on behalf of himself

and all other Class Members, and there are no defenses that are unique to Plaintiff. The claims




                                             34
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.35
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            39 of3562of 58




of Plaintiff and those of Class Members arise from the same operative facts and are based on

the same legal theories.

        147.     Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of Class Members. Plaintiff’s counsel is competent and experienced in

litigating class actions, including data privacy litigation of this kind.

        148.     Predominance. Defendants have engaged in a common course of conduct toward

Plaintiff and Class Members in that all of Plaintiff’s and Class Members’ data was stored on the

same computer systems and unlawfully accessed and exfiltrated in the same way. The common

issues arising from Unum’s conduct affecting Class Members set out above predominate over

any individualized issues. Adjudication of these common issues in a single action has important

and desirable advantages of judicial economy.

        149.     Superiority. A class action is superior to other available methods for the fair

and efficient adjudication of this controversy and no unusual difficulties are likely to be

encountered in the management of this class action. Class treatment of common questions of

law and fact is superior to multiple individual actions or piecemeal litigation. Absent a class

action, most Class Members would likely find that the cost of litigating their individual claims

is prohibitively high and would therefore have no effective remedy. The prosecution of separate

actions by individual Class Members would create a risk of inconsistent or varying

adjudications with respect to individual Class Members, which would establish incompatible

standards of conduct for Unum. In contrast, conducting this action as a class action presents far

fewer management difficulties, conserves judicial resources and the parties’ resources, and

protects the rights of each Class Member.

        150.     Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2).




                                              35
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.36
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            40 of3662of 58




Defendants have acted and/or refused to act on grounds generally applicable to the Class such

that final injunctive relief and/or corresponding declaratory relief is appropriate as to the Class

as a whole.

          151.    Finally, all members of the proposed Class are readily ascertainable.

Defendants have access to the names and addresses and/or email addresses of Class Members

affected by the Data Breach. Class Members have already been preliminarily identified and sent

Notice of the Data Breach by Defendants.


                                     CLAIMS FOR RELIEF

                                           COUNT I
                               Negligence and Negligence Per Se
                              (On Behalf of Plaintiff and the Class)

          152.   Plaintiff restates and realleges paragraphs 1 through 138 above as if fully set forth
herein.

          153.    Defendant Unum’s subsidiaries require their customers, including Plaintiff

and Class Members, to submit non-public Private Information in the ordinary course of

providing its financial services.

          154.    Defendant Unum and subsidiaries gathered and stored the Private Information

of Plaintiff and Class Members as part of their business of soliciting its services to its clients

and its clients’ customers, which solicitations and services affect commerce, and did so with

the utilization of Defendant PSC’s technology.

          155.    Plaintiff and Class Members entrusted Defendants with their Private

Information with the understanding that Defendant would safeguard their information.

          156.    Defendants had full knowledge of the sensitivity of the Private Information

and the types of harm that Plaintiff and Class Members could and would suffer if the Private




                                               36
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.37
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            41 of3762of 58




Information were wrongfully disclosed.

       157.     By assuming the responsibility to collect and store this data, and in fact doing

so, and sharing it and using it for commercial gain, Defendants had a duty of care to use

reasonable means to secure and to prevent disclosure of the information, and to safeguard the

information from theft. Defendant’s duty included a responsibility to exercise due diligence in

selecting IT vendors and to audit, monitor, and ensure the integrity of its vendor’s systems and

practices and to give prompt notice to those affected in the case of a data breach.

       158.     Defendants had a duty to employ reasonable security measures under Section

5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices

in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

       159.     Defendant's duty to use reasonable security measures under HIPAA required

Defendant to "reasonably protect" confidential data from "any intentional or unintentional use

or disclosure" and to "have in place appropriate administrative, technical, and physical

safeguards to protect the privacy of protected health information." 45 C.F.R. § 164.530(c)(l).

Some or all of the healthcare and/or medical information at issue in this case constitutes

"protected health information" within the meaning of HIPAA.

       160.     Defendants owed a duty of care to Plaintiff and Class Members to provide

data security consistent with industry standards and other requirements discussed herein, and to

ensure that its systems and networks, and the personnel responsible for them, adequately

protected the Private Information.

       161.     Defendant's duty of care to use reasonable security measures arose as a result

of the special relationship that existed between Defendants and Plaintiff and Class Members.




                                             37
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.38
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            42 of3862of 58




That special relationship arose because Plaintiff and the Class entrusted Defendants with their

confidential Private Information, a necessary part of being customers of Defendant Unum.

       162.         Defendant’s duty to use reasonable care in protecting confidential data arose

not only as a result of the statutes and regulations described above, but also because

Defendants are bound by industry standards to protect confidential Private Information.

       163.         Defendants were subject to an “independent duty,” untethered to any contract

between Defendant Unum and Plaintiff or the Class.

       164.         Defendants also had a duty to exercise appropriate clearinghouse practices to

remove former customers’ Private Information it was no longer required to retain pursuant to

regulations.

       165.         Moreover, Defendants had a duty to promptly and adequately notify Plaintiff

and the Class of the Data Breach.

       166.         Defendants had and continues to have a duty to adequately disclose that the

Private Information of Plaintiff and the Class within Defendant’s possession might have been

compromised, how it was compromised, and precisely the types of data that were

compromised and when. Such notice was necessary to allow Plaintiff and the Class to take

steps to prevent, mitigate, and repair any identity theft and the fraudulent use of their Private

Information by third parties.

       167.         Defendants breached their duties, pursuant to the FTC Act, HIPAA, and other

applicable standards, and thus was negligent, by failing to use reasonable measures to protect

Class Members’ Private Information. The specific negligent acts and omissions committed by

Defendants include, but are not limited to, the following:

               a.           Failing to adopt, implement, and maintain adequate security measures




                                               38
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.39
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            43 of3962of 58




         to safeguard Class Members’ Private Information;

                b.        Failing to adequately monitor the security of their networks and systems;

                c.          Failing to audit, monitor, or ensure the integrity of its vendor’s data

         security practices;

                d.        Allowing unauthorized access to Class Members’ Private Information;

                e.          Failing to detect in a timely manner that Class Members’ Private

         Information had been compromised;

                f.          Failing to remove former customers’ Private Information it was no

         longer required to retain pursuant to regulations; and

                g.          Failing to timely and adequately notify Class Members about the Data

         Breach’s occurrence and scope, so that they could take appropriate steps to mitigate the

         potential for identity theft and other damages.

         168.        Defendants violated Section 5 of the FTC Act and GLBA by failing to use

reasonable measures to protect Private Information and not complying with applicable

industry standards, as described in detail herein. Defendant’s conduct was particularly

unreasonable given the nature and amount of Private Information it obtained and stored and

the foreseeable consequences of the immense damages that would result to Plaintiff and the

Class.

         169.        Plaintiff and Class Members were within the class of persons the Federal

Trade Commission Act and GLBA were intended to protect and the type of harm that resulted

from the Data Breach was the type of harm these statues were intended to guard against.

         170.        Defendant’s violation of Section 5 of the FTC Act and GLBA constitutes

negligence per se.




                                                39
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.40
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            44 of4062of 58




        171.      The FTC has pursued enforcement actions against businesses, which, as a

result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class.

        172.      A breach of security, unauthorized access, and resulting injury to Plaintiff and

the Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

        173.      It was foreseeable that Defendant’s failure to use reasonable measures to

protect Class Members’ Private Information would result in injury to Class Members. Further,

the breach of security was reasonably foreseeable given the known high frequency of cyberattacks and

data breaches in the financial industry.

        174.      Defendants had full knowledge of the sensitivity of the Private Information

and the types of harm that Plaintiff and the Class could and would suffer if the Private

Information were wrongfully disclosed.

        175.      Plaintiff and the Class were the foreseeable and probable victims of any

inadequate security practices and procedures. Defendants knew or should have known of the

inherent risks in collecting and storing the Private Information of Plaintiff and the Class, the

critical importance of providing adequate security of that Private Information, and the

necessity for encrypting Private Information stored on Defendant’s systems.

        176.      It was therefore foreseeable that the failure to adequately safeguard Class

Members’ Private Information would result in one or more types of injuries to Class Members.

        177.      Plaintiff and the Class had no ability to protect their Private Information that

was in, and possibly remains in, Defendant’s possession.

        178.      Defendants were in a position to protect against the harm suffered by the




                                               40
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     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.41
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            45 of4162of 58




Plaintiff and the Class as a result of the Data Breach.

        179.      Defendant’s duty extended to protecting Plaintiff and the Class from the risk

of foreseeable criminal conduct of third parties, which has been recognized in situations where

the actor’s own conduct or misconduct exposes another to the risk or defeats protections put in

place to guard against the risk, or where the parties are in a special relationship. See

Restatement (Second) of Torts § 302B. Numerous courts and legislatures have also recognized

the existence of a specific duty to reasonably safeguard personal information.

        180.      Defendants have admitted that the Private Information of Plaintiff and the

Class was wrongfully lost and disclosed to unauthorized third persons as a result of the Data Breach.

        181.      But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff

and the Class, the Private Information of Plaintiff and the Class would not have been

compromised.

        182.      There is a close causal connection between Defendant’s failure to implement

security measures to protect the Private Information of Plaintiff and the Class and the harm,

or risk of imminent harm, suffered by Plaintiff and the Class. The Private Information of

Plaintiff and the Class was lost and accessed as the proximate result of Defendant’s failure to

exercise reasonable care in safeguarding such Private Information by adopting, implementing,

and maintaining appropriate security measures.

        183.      As a direct and proximate result of Defendant’s negligence, Plaintiff and the

Class have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) lost or diminished value of Private Information; (iii) lost time and opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (iv) loss of benefit of the bargain; (v)

and increase in spam calls, texts, and/or emails; and (vi) the continued and certainly increased risk to

their Private Information, which: (a) remains unencrypted and available for unauthorized third parties




                                                  41
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.42
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            46 of4262of 58



to access and abuse; and (b) remains backed up in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendants fail to undertake appropriate and adequate measures to

protect the Private Information.

          184.   As a direct and proximate result of Defendant’s negligence, Plaintiff and the

Class have suffered and will continue to suffer other forms of injury and/or harm, including,

but not limited to, anxiety, emotional distress, loss of privacy, and other economic and non-

economic losses.

          185.   Additionally, as a direct and proximate result of Defendant’s negligence,

Plaintiff and the Class have suffered and will suffer the continued risks of exposure of their

Private Information, which remain in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendants fail to undertake appropriate and adequate

measures to protect the Private Information in its continued possession.

          186.   Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

          187.   Defendant’s negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiff and Class Members in an unsafe and insecure manner.

          188.   Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                          COUNT II
                                  Breach Of Implied Contract
                              (On Behalf of Plaintiff and the Class)

          189.     Plaintiff restates and realleges paragraphs 1 through 138 above as if fully set forth

herein.




                                               42
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.43
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            47 of4362of 58




        190.     Plaintiff and Class Members were required to provide their Private

Information to Defendants, through its subsidiaries, as a condition of receiving insurance,

financial, and/or other services from Defendants and its subsidiaries.

        191.     Plaintiff and the Class entrusted their Private Information to Defendants. In

so doing, Plaintiff and the Class entered into implied contracts with Defendants by which

Defendants agreed to safeguard and protect such information, to keep such information

secure and confidential, and to timely and accurately notify Plaintiff and the Class if their data had

been breached and compromised or stolen.

        192.     In entering into such implied contracts, Plaintiff and Class Members

reasonably believed and expected that Defendant’s data security practices complied with

relevant laws and regulations and were consistent with industry standards.

        193.     Implicit in the agreement between Plaintiff and Class Members and the

Defendants to provide Private Information, was the latter’s obligation to: (a) use such Private

Information for business purposes only, (b) take reasonable steps to safeguard that Private

Information, (c) prevent unauthorized disclosures of the Private Information, (d) provide

Plaintiff and Class Members with prompt and sufficient notice of any and all unauthorized

access and/or theft of their Private Information, (e) reasonably safeguard and protect the Private

Information of Plaintiff and Class Members from unauthorized disclosure or uses, (f) retain

the Private Information only under conditions that kept such information secure and

confidential.

        194.     The mutual understanding and intent of Plaintiff and Class Members on the

one hand, and Defendants, on the other, is demonstrated by their conduct and course of dealing.

        195.     Defendants solicited, offered, and invited Plaintiff and Class Members to




                                                43
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.44
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            48 of4462of 58




provide their Private Information as part of Defendant’s regular business practices. Plaintiff

and Class Members accepted Defendant’s offers and provided their Private Information to

Defendants.

        196.     In accepting the Private Information of Plaintiff and Class Members,

Defendants understood and agreed that it was required to reasonably safeguard the Private

Information from unauthorized access or disclosure.

        197.     On information and belief, at all relevant times Defendants promulgated,

adopted, and implemented written privacy policies whereby it expressly promised Plaintiff

and Class Members that it would only disclose Private Information under certain circumstances, none

of which relate to the Data Breach.

        198.     On information and belief, Defendants further promised to comply with

industry standards and to make sure that Plaintiff's and Class Members’ Private Information

would remain protected.

        199.     Plaintiff and Class Members paid money and provided their Private

Information to Defendants with the reasonable belief and expectation that Defendants would

use part of their earnings to obtain adequate data security. Defendants failed to do so.

        200.     Plaintiff and Class Members would not have entrusted their Private

Information to Defendants in the absence of the implied contract between them and

Defendants to keep their information reasonably secure.

        201.     Plaintiff and Class Members would not have entrusted their Private

Information to Defendants in the absence of their implied promise to monitor their computer

systems and networks to ensure that it adopted reasonable data security measures.

        202.     Plaintiff and Class Members fully and adequately performed their obligations




                                              44
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     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.45
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            49 of4562of 58




under the implied contracts with Defendants.

        203.     Defendants breached the implied contracts it made with Plaintiff and the Class

by failing to safeguard and protect their personal information, by failing to delete the

information of Plaintiff and the Class once the relationship ended, and by failing to provide

accurate notice to them that personal information was compromised as a result of the Data

Breach.

        204.     As a direct and proximate result of Defendant’s breach of the implied

contracts, Plaintiff and Class Members sustained damages, as alleged herein, including the

loss of the benefit of the bargain.

        205.     Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

        206.     Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii)

immediately provide adequate credit monitoring to all Class Members.

                                         COUNT III
                                    Unjust Enrichment
                             (On Behalf of Plaintiff and the Class)

        207.     Plaintiff restates and realleges paragraphs 1 through 139 above as if fully set

forth herein.

        208.     Plaintiff and Class Members conferred a monetary benefit on Defendants.

Specifically, they paid for services from Defendant’s subsidiaries and/or their agents and in

so doing also provided Defendants with their Private Information. In exchange, Plaintiff and

Class Members should have received from Defendants the services that were the subject of




                                             45
  Case
     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.46
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            50 of4662of 58




the transaction and should have had their Private Information protected with adequate data security.

        209.      Defendant knew that Plaintiff and Class Members conferred a benefit upon it

and has accepted and retained that benefit by accepting and retaining the Private Information

entrusted to it. Defendants profited from Plaintiff’s retained data and used Plaintiff’s and Class

Members’ Private Information for business purposes.

        210.      Defendants failed to secure Plaintiff’s and Class Members’ Private

Information and, therefore, did not fully compensate Plaintiff or Class Members for the value

that their Private Information provided.

        211.      Defendants acquired the Private Information through inequitable record

retention as it failed to disclose the inadequate data security practices previously alleged.

        212.      If Plaintiff and Class Members had known that Defendants would not use

adequate data security practices, procedures, and protocols to adequately monitor, supervise,

and secure their Private Information, they would have entrusted their Private Information at

Defendants.

        213.      Plaintiff and Class Members have no adequate remedy at law for these

categories of their damages.

        214.      Under the circumstances, it would be unjust for Defendants to be permitted to

retain any of the benefits that Plaintiff and Class Members conferred upon it.

        215.      As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of

privacy; (ii) lost or diminished value of Private Information; (iii) lost time and opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (iv) loss of benefit

of the bargain; (v) and increase in spam calls, texts, and/or emails; and (vi) the continued and certainly

increased risk to their Private Information, which: (a) remains unencrypted and available for




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     Case
       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.47
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            51 of4762of 58



unauthorized third parties to access and abuse; and (b) remains backed up in Defendant’s possession

and is subject to further unauthorized disclosures so long as Defendants fail to undertake appropriate

and adequate measures to protect the Private Information.

        216.     Plaintiff and Class Members are entitled to full refunds, restitution, and/or

damages from Defendants and/or an order proportionally disgorging all profits, benefits, and

other compensation obtained by Defendants from its wrongful conduct. This can be

accomplished by establishing a constructive trust from which the Plaintiff and Class Members

may seek restitution or compensation.

        217.     Plaintiff and Class Members may not have an adequate remedy at law against

Defendant, and accordingly, they plead this claim for unjust enrichment in addition to, or in

the alternative to, other claims pleaded herein.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and Class Members, requests judgment

against Defendant and that the Court grant the following:

            A.    For an Order certifying this action as a class action and appointing Plaintiff and

                  his counsel to represent the Class and Subclass, pursuant to Federal Rule of

                  Civil Procedure 23;

            B.    For equitable relief enjoining Defendant from engaging in the wrongful

                  conduct complained of herein pertaining to the misuse and/or disclosure of

                  Plaintiff’s and Class Members’ Private Information, and from refusing to issue

                  prompt, complete and accurate disclosures to Plaintiff and Class Members;

            C.    For injunctive relief requested by Plaintiff, including, but not limited to,

                  injunctive and other equitable relief as is necessary to protect the interests of

                  Plaintiff and Class Members, including but not limited to an order:




                                                47
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   Case
     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.48
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
                                                        Page
                                                          52 of4862of 58




             i.     prohibiting Defendants from engaging in the wrongful and unlawful

                    acts described herein;

             ii.    requiring Defendants to protect, including through encryption, all

                    data collected through the course of their business in accordance with

                    all applicable regulations, industry standards, and federal, state or

                    local laws;

             iii.   requiring Defendants to delete, destroy, and purge the personal

                    identifying information of Plaintiff and Class Members unless

                    Defendants can provide to the Court reasonable justification for the

                    retention and use of such information when weighed against the

                    privacy interests of Plaintiff and Class Members;

             iv.    requiring Defendants to implement and maintain a comprehensive

                    Information Security Program designed to protect the confidentiality

                    and integrity of the Private Information of Plaintiff and Class

                    Members;

             v.     prohibiting Defendants from maintaining the Private Information of

                    Plaintiff and Class Members on a cloud-based database;

             vi.    requiring Defendants to engage independent third-party security

                    auditors/penetration testers as well as internal security personnel to

                    conduct testing, including simulated attacks, penetration tests, and

                    audits on Defendant’s systems on a periodic basis, and ordering

                    Defendants to promptly correct any problems or issues detected by

                    such third-party security auditors;




                                      48
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   Case
     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.49
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
                                                        Page
                                                          53 of4962of 58




             vii.    requiring Defendants to engage independent third-party security

                     auditors and internal personnel to run automated security monitoring;

             viii.   requiring Defendants to audit, test, and train their security personnel

                     regarding any new or modified procedures; requiring Defendants to

                     segment data by, among other things, creating firewalls and access

                     controls so that if one area of Defendant’s network is compromised,

                     hackers cannot gain access to other portions of Defendant’s systems;

             ix.     requiring Defendants to conduct regular database scanning and

                     securing checks;

             x.      requiring Defendants to establish an information security training

                     program that includes at least annual information security training for

                     all employees, with additional training to be provided as appropriate

                     based upon the employees’ respective responsibilities with handling

                     personal identifying information, as well as protecting the personal

                     identifying information of Plaintiff and Class Members;

             xi.     requiring Defendants to routinely and continually conduct internal

                     training and education, and on an annual basis to inform internal

                     security personnel how to identify and contain a breach when it

                     occurs and what to do in response to a breach;

             xii.    requiring Defendants to implement a system of tests to assess its

                     respective employees’ knowledge of the education programs

                     discussed in the preceding subparagraphs, as well as randomly and

                     periodically testing employees compliance with Defendant’s policies,




                                        49
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   Case
     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.50
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
                                                        Page
                                                          54 of5062of 58




                      programs, and systems for protecting personal identifying

                      information;

              xiii.   requiring Defendants to implement, maintain, regularly review, and

                      revise as necessary a threat management program designed to

                      appropriately monitor Defendant’s information networks for threats,

                      both internal and external, and assess whether monitoring tools are

                      appropriately configured, tested, and updated;

              xiv.    requiring Defendants to meaningfully educate all Class Members

                      about the threats that they face as a result of the loss of their

                      confidential personal identifying information to third parties, as well

                      as the steps affected individuals must take to protect themselves;

              xv.     requiring Defendants to implement logging and monitoring programs

                      sufficient to track traffic to and from Defendant’s servers; and

              xvi.    for a period of 10 years, appointing a qualified and independent third

                      party assessor to conduct a SOC 2 Type 2 attestation on an annual

                      basis to evaluate Defendant’s compliance with the terms of the

                      Court’s final judgment, to provide such report to the Court and to

                      counsel for the class, and to report any deficiencies with compliance

                      of the Court’s final judgment;

       D.   For an award of actual damages, compensatory damages, statutory damages,

            and nominal damages, in an amount to be determined, as allowable by law;

       E.   For an award of punitive damages, as allowable by law;

       F.   For an award of attorneys’ fees and costs, and any other expenses, including




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       1:23-cv-01005
           MDL No. 3083
                     ECFDocument
                         No. 1, PageID.51
                                  303 FiledFiled
                                            09/25/23
                                                 09/21/23
                                                       Page
                                                          Page
                                                            55 of5162of 58




               expert witness fees;

          G.   Pre- and post-judgment interest on any amounts awarded; and

          H.   Such other and further relief as this court may deem just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury on all issues so triable.




Dated: September 21, 2023.                    Respectfully submitted,

                                              /s/ Alyson Oliver
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                                              Troy, MI 48084
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                                              Counsel for Plaintiff and the Proposed Class




                                             51
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     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.52
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
                                                        Page
                                                          56 of5262of 58




                       Exhibit A
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   Case
     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.53
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
                                                        Page
                                                          57 of5362of 58
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   Case
     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.54
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
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                                                          58 of5462of 58
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   Case
     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.55
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
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                                                          59 of5562of 58
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   Case
     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.56
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
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                                                          60 of5662of 58
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   Case
     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.57
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
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                                                          61 of5762of 58
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   Case
     1:23-cv-01005
         MDL No. 3083
                   ECFDocument
                       No. 1, PageID.58
                                303 FiledFiled
                                          09/25/23
                                               09/21/23
                                                     Page
                                                        Page
                                                          62 of5862of 58
